                     Case 1:11-cr-00160-JTN
     AO 472 Order of Detention Pending Trial
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                           WESTERN DISTRICT OF MICHIGAN
     UNITED STATES OF AMERICA             ORDER OF DETENTION
             V.                           PENDING TRIAL
     DERRICK JOHN GRAVES                                                                       Case Number:         1:11-CR-160

            In accordance with the Bail Reform Act, 18 U.S.C.§3142(f), a detention hearing has been held. I conclude that the following facts
     require the detention of the defendant pending trial in this case.
                                                                   Part I - Findings of Fact
              (1)      The defendant is charged with an offense described in 18 U.S.C. §3142(f)(1) and has been convicted of a (federal
                       offense) (state or local offense that would have been a federal offense if a circumstance giving rise to federal jurisdiction had
                       existed) that is
                             a crime of violence as defined in 18 U.S.C.§3156(a)(4).
                             an offense for which the maximum sentence is life imprisonment or death.
                             an offense for which the maximum term of imprisonment of ten years or more is prescribed in

                              a felony that was committed after the defendant had been convicted of two or more prior federal offenses described in 18
                              U.S.C.§3142(f)(1)(A)-(C), or comparable state or local offenses.
             (2)      The offense described in finding (1) was committed while the defendant was on release pending trial for a federal, state or local
                      offense.
             (3)      A period of not more than five years has elapsed since the (date of conviction) (release of the defendant from imprisonment) for
                      the offense described in finding (1).
             (4)      Findings Nos. (1), (2) and (3) establish a rebuttable presumption that no condition or combination of conditions will reasonably
                      assure the safety of (an)other person(s) and the community. I further find that the defendant has not rebutted this
                      presumption.
                                                                     Alternate Findings (A)
     ✘       (1)      There is probable cause to believe that the defendant has committed an offense
                       ✘     for which a maximum term of imprisonment of ten years or more is prescribed in 21 U.S.C. § 801 et seq
                             under 18 U.S.C.§924(c).
     ✘       (2)      The defendant has not rebutted the presumption established by finding 1 that no condition or combination of conditions will
                      reasonably assure the appearance of the defendant as required and the safety of the community.
                                                                     Alternate Findings (B)
     ✘       (1)      There is a serious risk that the defendant will not appear.
     ✘       (2)      There is a serious risk that the defendant will endanger the safety of another person or the community.
                      Defendant is a 46-year-old with ties to Lansing and the Detroit area. There is some question about the extent of his
                      substance abuse since he gave statements inconsistent with the prior federal presentence report. However, nothing
                      serious is known. Defendant has been diagnosed with Type II diabetes and high blood pressure, for which he takes
                      medication. His income supports his wife and her three children, one of whom is a handicapped 12-year-old.

                      Defendant does have a lengthy criminal record going back nearly 20 years when he was (continued on attachment)
                                           Part II - Written Statement of Reasons for Detention
I find that the credible testimony and information submitted at the hearing establishes by clear and convincing evidence that
   no condition or combination of conditions will assure the safety of the community in light of defendant's lengthy, and
   apparently ongoing, criminal record. The defendant has occurred several substantial prison terms in the past, and his
   argument that he was not violating his most recent supervised release (as opposed to his earlier parole violations) is
   undermined by the number of federal charges which have apparently occurred since he was (continued on attachment)
                                                      Part III - Directions Regarding Detention
       The defendant is committed to the custody of the Attorney General or his designated representative for confinement in a corrections
  facility separate, to the extent practicable, from persons awaiting or serving sentences or being held in custody pending appeal. The
  defendant shall be afforded a reasonable opportunity for private consultation with defense counsel. On order of a court of the United States
  or on request of an attorney for the Government, the person in charge of the corrections facility shall deliver the defendant to the United
  States marshal for the purpose of an appearance in connection with a court proceeding.


    Dated:         June 13, 2011                                                                /s/ Hugh W. Brenneman, Jr.
                                                                                                                        Signature of Judicial Officer
                                                                                              Hugh W. Brenneman, United States Magistrate Judge
                                                                                                                     Name and Title of Judicial Officer

          *Insert as applicable: (a) Controlled Substances Act (21 U.S.C. §801 et seq. ); (b) Controlled Substances Import and Export Act (21 U.S.C. §951 et seq. ); or
    (c) Sectlon 1 of Act of Sept. 15, 1980 (21 U.S.C. §955a).
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Alternate Findings (B) - (continued)


convicted of two counts of armed robbery, along with a felony firearm. He was sentenced to 3 to 10 years in prison for
the armed robbery charges and a mandatory 2-year sentence ran concurrent for the felony firearm charge. He was
subsequently paroled but violated his parole by not reporting and was returned to prison. He was eventually paroled
again, but while on parole the second time was charged with possession with the intent to deliver heroin, which
resulted in a 5 to 20-year prison term. The following year he was convicted of conspiring to distribute a controlled
substance and distribution of heroin in federal court and given a 15-year prison sentence to run concurrent with the
state sentence.

Defendant was ultimately discharged from supervised release on August 19, 2010. Unfortunately, by that time, he had
apparently entered into a conspiracy charge and a SNAP fraud.

Following his discharge from supervised release, the government asserts that he has, on six different occasions during
2010 and the beginning of 2011, distributed either crack cocaine or heroin. On January 31st of this year, he was
caught on tape attempting to sell a firearm to an undercover officer, which resulted in a felon in possession charge.




Part II - Written Statement of Reasons for Detention - (continued)

discharged from supervised release less than a year ago. The court would make the same finding even in the
absence of an unrebutted presumption for the same reasons.
